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REPUBLIC SERVICES, INC.,

                  PLAINTIFF

 V.                                                      CIVIL ACTION NO. 03-494 KSF

 LIBERTY MUTUAL INSURANCE
 COMPANY, LIBERTY INSURANCE
 ACQUISITION CORPORATION fMa
 LIBERTY MUTUAL FIRE INSURANCE
 COMPANY, LIBERTY INSURANCE
 CORPORATION, LM INSURANCE
 CORPORATION, THE FIRST LIBERTY
 INSURANCE CORPORATION and
 HELMSMAN MANAGEMENT SERVICES,
 INC.,
           DEFENDANTS.



 THE LIBERTY COMPANIES’ RESPONSE TO PLAINTIFF’S IOTIONS TO ca ZPEL

         Defendants, Liberty Mutual Insurance Company, Liberty Insurance Acquisition

 Corporation, fMa Liberty Mutual Fire Insurance Company, Liberty Insurance Corporation, LM

 Insurance Corporation, The First Liberty Insurance Corporation, and Helmsman Management

 Service, Inc. (“Defendants” or the “Liberty Companies”) submit the following response to

 Plaintiff, Republic Services, Inc.’s (“Plaintiff’ or “RSI”) Motions to Compel.

 I.      INTRODUCTION

         Plaintiffs Motions to Compel circumvent the Court’s current Order providing for a

 telephonic discussion of discovery disputes with Magistrate Judge James B. Todd and demands

 acts (e.g., verification of responses to Requests for Production of Documents and Requests for

 Admissions) and information and/or documents (e.g., all documents upon which Defendants will



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rely in their defense) not contemplated by Civil Rules 33,34 and 36. For the reasons stated

below, this Court should deny Plaintiffs Motions.

11.      BACKGROUND OF DISCOVERY ISSUES

         This case involves a dispute over the handling of RSI’s workers compensation files by

the Liberty Companies. RSI and the Liberty Companies entered into a contractual relationship

whereby the Liberty Companies provided workers’ compensation insurance and claims

administration services to RSI for three consecutive annual terms beginning July 1998, July 1999

and July 2000. Complaint at 71.5. During the relevant policy periods, approximately 7,750

workers’ compensation claims were brought by various employees of RSI and those claims have

been handled by the Liberty Companies.     Id- at 718.   As of date of the filing of the Complaint in

this action, approximately 212 of those claims remained open.      Id-
         In addition to maintaining paper files regarding each claim, the Liberty Companies

maintain files electronically and make the files available to their customers in a system known as

RISKTRAC.        See Affidavit of Greg Brisee filed in support of Defendants’ memorandum in
Response to Plaintiffs Motion for Restraining Order, 76. The electronic RTSKTRAC files

contain everything the paper files do except for correspondence from counsel defending the

workers’ compensation claim, and the workers’ compensation claimants’ medical records.          Id-
All noteworthy correspondence and medical records are summarized in RISKTRAC.              Id- RSI
had and continues to have access to the RSI employee claim files through RISKTRAC.              at 79.

         In addition to RISKTRAC, the Liberty Companies use an electronic claims processing

system. The old system was called BOCOMP and the new system is called ExPRS. The

information from both of these systems is also viewable in RISKTRAC.




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        During the discovery phase of this litigation, the Liberty Companies have produced

272,513 documents to RSI. These documents include 740 claims files,’ 58,500 other corporate

documents and 40,207 BOCOMP documents. Additionally, RSI and its experts had unlimited

access to RISKTRAC. The Liberty Companies made these documents available to RSI pursuant

to an agreement that RSI would pay rent for use of space on the 18th floor of the building where

the Liberty Companies’ counsel is located in Lexington, Kentucky.z RSI’s counsel and its

experts reviewed both paper and electronic documents in this space for 18 months from January

2004 to May 2005.3

        In addition to producing 272,s 13 documents to RSI, the Liberty Companies have

responded to 17 Requests for Admissions and 38 Interrogatories propounded by Plaintiffs. On

February 3,2006, the Liberty Companies received 10 additional Interrogatories and 13 Requests

for Admissions from RSI.

        Due to the magnitude of this case and particularly, the management of a large scale

document production, the parties have routinely agreed to extend discovery response deadlines

and to allow more Interrogatories than permitted pursuant to the Civil Rules. Plaintiff has taken

advantage of these accommodations and has served the Liberty Companies with three sets of

Interrogatories, three sets of Requests for Admissions and two sets of Requests for Production of


I
  RSI requested only those claim files for which paid amounts exceeded $7500; that limitation resulted in
the production of 740 claim files.
2
  The Court will recall that the Liberty Companies did not initially produce claims files that were handled
in the Liberty Companies’ California offices. Pursuant to Section 3762 of the California Labor Code, the
Liberty Companies were prohibited from disclosing medical information to the employer about an
employee who filed a workers’ compensation claim except (a) where medical information is limited to the
diagnosis and treatment of the claimed mental or physical condition, or (b) if medical information about
the injury is necessary to permit the employer to modify the employee’s work duties. Upon this Court’s
order, the Liberty Companies produced the California files with all medical information redacted. These
California files were not available to RSI when its counsel and experts were reviewing documents on the
18th floor of the Lexington Center, but instead, were subsequently sent to Lynn Imaging for copying and
delivered directly to counsel for RSI.
3
  RSI has not reimbursed the Liberty Companies for use of this additional rented space as promised,


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Documents. In addition to responding to Plaintiffs discovery and complying with their

obligations under Rule 26, the Liberty Companies have also been preparing and defending

witnesses for deposition pursuant to RSI’s       notice^.^
           The Liberty Companies have diligently worked to provide RSI with its requested

discovery and have continually supplemented their document production as missing claims files

have been located. In fact, they continue to do so. On Friday, February 3,2006 and Monday,

February 6, 2006, counsel for Liberty Mutual received 9 files from the Liberty Companies that

they were previously unable to locate. Those files have been sent to Lynn Imaging and will be

sent to RSI when copying is complete

           By filing these motions, RSI chose not to follow the procedures outlined for resolving

discovery disputes in this Court’s Order of March 22,2005. The Court’s review of the Liberty

Companies’ response below will reveal that the Liberty Companies have not been evading

discovery as RSI would have this Court believe, but have been more than willing to

accommodate reasonable requests for discoverable information in this case. In fact, the Liberty

Companies continue to do so by amending responses, revising their privilege log and producing

additional documents. RSI’s Motions are procedurally improper and without merit and this

Court should deny them.

Ill.       PLAINTIFF’S MOTIONS ARE PROCEDURALLY IMPROPER

           On March 11,2005, this Court entered a scheduling order for this case. The order

provided, at Paragraph 13 that:

                  ALL DISCOVERY DISPUTES ARE REFERRED TO MAGISTRATE
                  JUDGE JAMES B. TODD FOR RESOLUTION, PURSUANT TO TITLE
                  28, U.S.C., SECTION 636(b)(l)(A). FIRST THE PARTIES SHALL
                  ATTEMPT TO RESOLVE THE DISPUTE AMONG THEMSELVES.

4
    Plaintiff has indicated it wants to depose hundreds of Liberty employee claims handlers around the
country.


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                 SECOND, IF THE PARTIES ARE UNABLE TO RESOLVE THE
                 DISPUTE, THEY SHALL ATTEMPT TO RESOLVE THE DISPUTE
                 WITH THE MAGISTRATE JUDGE BY TELEPHONE.

                 THIRD, IF AFTER THE TELEPHONE CONFERENCE WITH THE
                 MAGISTRATE JUDGE THE DISPUTE IS NOT RESOLVED, I.E. THE
                 PARTY SEEKING DISCOVERY IS STILL UNSATISFIED WITH THE
                 MAGISTRATE JUDGE’S ORAL OR WRITTEN RULING FROM THE
                 TELEPHONE CONFERENCE, THAT PARTY MAY FILE A WRITTEN
                 MOTION TO COMPEL CONTAINING APPROPRIATE FACTUAL AND
                 LEGAL ARGUMENTS DIRECTED TO THE MAGISTRATE JUDGE..                              ..
                 THE TIME PERIOD FOR FILING THE MOTION TO COMPEL AND
                 THE RESPONSE AND ANY REPLY SHALL BE SET BY THE
                 MAGISTRATE JUDGE IN HIS DISCRETION.. .               .
                 THE COURT REQUIRES STRICT COMPLIANCE WITH THE TERMS OF
                 THIS ORDER. FAILURE TO COMPLY WILL RESULT IN THE
                 IMPOSITION OF SANCTIONS. (Capitalization and emphasis in original)

RSI violated this Court’s order.

         As described above, this is massive litigation involving hundreds of thousands of pages

of documents and hundreds of witnesses. RSI has served three sets of discovery on the Liberty

Companies and occupied office space dedicated to the review of documents by RSI for over 18

months. RSI has repeatedly insisted that claims files be produced that (1) have already been

produced or (2) the Liberty Companies have not been able to locate.

         RSI has made no attempt to resolve this dispute with the Magistrate Judge by phone as

ordered by this Court

        RSI has not directed its Motions to the Magistrate Judge, but has instead filed its motions

directly with this Court.

        In light of its failure to comply with of this Court’s Order, this Court should deny RSI’s

Motions to Compel.




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IF’.      THIS COURT SHOULD DENY PLAINTIFF’S MOTIONS TO COMPEL

          A.      The Libertv Companies Have Comulied With Their Obligations Under Rules
                  34 And 36 Of The Federal Rules of Civil Procedure.

          The Liberty Companies have provided complete written responses to both sets of

Requests for Admissions propounded by RSI. Additionally, the Liberty Companies have

produced 272,513 documents in response to RSI’s Requests for Production of Documents.

Concurrently with this Response, the Liberty Companies have also served RSI with written

responses to both sets of their Requests for Production of      document^.^   Accordingly, the Liberty

Companies have fulfilled their obligations under Rules 34 and 36 of the Federal Rules of Civil

Procedure.

          RSI, however, insists that the Liberty Companies have two additional duties: (1) to

provide verifications for their Responses to Requests for Production of Documents and their

Responses to Requests for Admissions and (2) to identify, by the relevant Bates Numbers, all

documents that are responsive to each Request for Production of Documents. RSI can provide

no authority for these assertions.

          First, RSI claims that “verifications are necessary in order to establish that to the best of

the signer’s knowledge, the disclosure is complete and correct,” citing Rule 26(g) of the Federal

Rules of Civil Procedure and Dollar v. Lone Mfr. N.C.. Inc., 561 F.2d 613,616 (5th Cir. 1977).

Rule 26(g) provides, in relevant part, that:

                  Every discovery request, response, or objection made by a party represented by an
                  attorney shall be signed by at least one attorney of record in the attorney’s
                  individual name, whose address shall be stated. An unrepresented party shall sign
                  the request, response, or objection and state the party’s address. The signature of
                  the attorney or party constitutes a certification that to the best of the signer’s
                  knowledge, information, and belief, formed after a reasonable inquiry, the
                  request, response, or objection is:


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    Documents were previously provided in response to the requests for production

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                           (A) consistent with these rules and warranted by existing law or a good
                           faith argument for the extension, modification, or reversal of existing law;

                           (B) not interposed for any improper purpose, such as to harass or to cause
                           unnecessary delay or needless increase in the cost of litigation; and

                           (C) not unreasonable or unduly burdensome or expensive, given the needs
                           of the case, the discovery already had in the case, the amount in
                           controversy, and the importance of the issues at stake in the litigation.

The Liberty Companies’ responses are signed by their attorney. No further verification or

certification is required by Rule 26(g), Rule 34 governing Requests for Production of Documents

or Rule 36 governing Requests for Admissions. Similarly, the u            r case cited by RSI makes

no mention of a verification. The court in u           r does not even address Requests for Production

of Documents or Requests for Admissions. The only discovery responses that must be verified

are answers to Interrogatories.     See Rule 33.   RSI cannot cite any law to the contrary.

         Second, RSI contends that “the Liberty Companies should be compelled to identify, by

the relevant Bates Nos., all documents that are responsive to each Request.” Rule 34 requires a

responding party to serve a written response stating that “inspection and related activities will be

permitted as requested, unless the request is objected to, in which event the reasons for the

objection shall be stated.” The rule further states that “[a] party who produced documents for

inspection shall produce them as they are kept in the usual course of business or shall organize

and label them to correspond with the categories in the request.” (Emphasis added.) The Liberty

Companies have produced 272,513 documents in the manner they were kept in the course of the

Liberty Companies’ business. RSI had access to 740 claim files in a specially dedicated office

for over 18 months. The Rules do not require the Liberty Companies to engage in the unduly

burdensome task of identifying each of the 272,513 documents that are responsive to each of the

Requests for Production of Documents propounded by RSI.




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         The Liberty Companies have fulfilled their obligations under Rules 34 and 36 of the

Federal Rules of Civil Procedure and this Court should deny Plaintiffs Motions to Compel.

        B.       The Liberty Companies Have Produced All Requested Claims Files In Their
                 Possession. Custody Or Control That They Have Been Able T o Locate

         As described above, the Liberty Companies have produced 272,5 13 documents to RSI.

Beginning on January 5,2004, the Liberty Companies made space available to RSI on the 18th

floor of the Lexington Financial Center. RSI’s attorneys and experts had almost continual access

to this space for 18 months and spent a great deal of time there reviewing documents and

analyzing data. Notably, RSI and the Liberty Companies had an agreement that RSI would

reimburse the Liberty Companies for the costs of renting the space, but to date, RSI has failed to

do so. During those 18 months, RSI had access to all of the claims files it requested with the

exception of those files that the Liberty Companies have been unable to locate.

         Counsel for RSI has written counsel for the Liberty Companies letters indicating that a

variety of files were “missing.” Counsel for the Liberty Companies has responded explaining

that all of the files, with the exception of those the Liberty Companies has been unable to locate,

were produced.

         In fact, the 272,5 13 documents produced by the Liberty Companies include over 740

claims files. As set forth below, there were 12 files identified in Exhibit A to RSI’s Motions that

the Liberty Companies were previously unable to locate. The Liberty Companies recently

located 6 of those files and delivered them to their counsel on February 3 and 6,2006. These

files will be sent to Lynn Imaging for copying and delivered to counsel for RSI when they are

complete. There are only 4 files remaining on RSI’s list that the Liberty Companies have been

unable to locate after a reasonable and diligent search and 2 files for which the Liberty




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Companies are still searching6 Additionally, the Liberty Companies hereby agree to provide

paper copies of the files described below that RSI contends were not produced, but in fact, were

available to RSI during its 18 month review.

          The following are claims files that RSI claims are “missing,” but were in fact, available

to RSI during the entire time its counsel and experts were reviewing documents on the 18th floor

of the Lexington Financial Center:

                     Frias-Alba, Gaberial            (located in closed box 4’)

                     Mosier, Johnny         (located in open box 38)

                     Schimmel, Jason (located in open box 38)

                     Warriner, Pamela K              (located in open box 1I) It appears the RSI has an

                      incorrect claim number for Ms. Warriner’s file. RSI’s chart attached to Exhibit

                     A lists Ms. Warriner’s claim number as 555-552802, but their counsel’s letter

                     lists the claim number as 555-552808. The correct number is 555-552802.

                     Cornett, Charles Counsel for RSI originally identified a file for custodian

                     Julie Hughes in his July 13,2005 letter. Ms. Hughes is the custodian for

                      Charles Comett. The file is in Mr. Comett’s name.

                     Moore, Allen           (located in box 7) The Allen Moore file started out as

                     claim number 457-134954 and was then changed to 949-50541.

                     Austin, Barry          RSI’s counsel contends in his letter that “[tlhe Barry Austin

                     paper Claim File the Liberty companies have yet to produce is an Arizona

                     claim, not a California claim.” Barry Austin is a California claim file and was

                     produced to RSI on July 29,2005. Even though Mr. Austin worked in Arizona,

6
    Six missing files out of over 750 files requested is a very small percentage.



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                   his claim was handled in a California claims office and it has a California claim

                   number.

         The following are claims files that the Liberty Companies produced, but the claimant had

 a second, separate work-related injury, or are claims files that the Liberty Companies were

 previously unable to locate, but have recently been produced to Defendants’ counsel.

                   Bathory, Laszlo     The Liberty Companies produced claim number 390-

                   024078 with a date of loss of 7/29/99 for a back claim. The Liberty Companies

                   recently located claim number 832-126133 with a date of loss of 1/28/99 for a

                   cut forearm and will provide a copy to RSI.

                   Zimmerman, Karl W             The Liberty Companies recently located this file

                   and will provide a copy to RSI.

                   Davis, Kimble       The Liberty Companies recently located this file and will

                   provide a copy to RSI.

                   Doyle, Shelby       The claim number and date provided by RSI did not match

                   the claim number or date for the file that was in the possession of counsel for

                   the Liberty Companies. The Liberty Companies recently located this file and

                   will provide a copy to RSI.

                   Demarco, Gerome The Liberty Companies recently located this file and will

                   provide a copy to RSI.

                   Allen, James        The Liberty Companies recently located file number 714-

                   68689 and will provide a copy to RSI.



 7
   The boxes of documents produced by the Liberty Companies were divided between open and closed
 files.


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                      London, Joseph        The Liberty Companies recently located this file and will

                      provide a copy to RSI.

                      Moran, Dennis         The Liberty Companies recently located this file and will

                      provide a copy to RSI.

                      Mills, Victor M       Claim number 390-090049, with a date of loss of 9/21/00,

                      was provided to RSI during the entire period of time RSI’s experts were

                      examining files in the office space provided by the Liberty Companies. The

                      Liberty Companies recently located claim number 390-123417 with a date of

                      loss of 4/11/01 and will provide a copy to RSI.

          The following are claim files that the Liberty Companies have been unable to locate after

 a reasonable and diligent search:

                      Hughes, Edward

                      Ethridge, Bruce

                      Kendall, Michael

                      Owens, George I

          The following are files for which the Liberty Companies are still looking:

                      Flores, Isidoro       The Liberty Companies produced claim numher 471-

                      407215, date of loss 4/22/99, for a strain to the left knee. RSI indicates that it

                      does not have claim number 471-391358 for Ms. Flores with a date of loss of

                      8/17/98 and a possible tear of tendon or ligament of the left knee. The Liberty

                      Companies are looking for claim number 471-391358 and will provide a copy

                      to RSI if they locate it.




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                     Coleman, Jeremy W             The Liberty Companies produced 471-406104, with

                     a date of loss of 12/9/98. RSI lists claim number 471-432049 with a 12/27/99

                     date of loss. The Liberty Companies are looking for claim number 471-432049

                     and will provide it to RSI if they locate it.

         RSI also identifies a number of California files that it claims the Liberty Companies have

 not produced. However, all of the California files have been produced with the exception of

 Francisco Contreras, Steve Godsey, Patrick Powers and Alberdo Diaz. The Liberty Companies

 have performed a reasonable and diligent search and have been unable to locate those files, but

 will produce them if they are found. Attached as Exhibit A is a list of files sent to Lynn Imaging

 for copying and the date on which they were sent. Lynn Imaging made payment and delivery

 arrangements with RSI’s counsel. See Lynn Imaging’s affidavit by Connie Moore confirming

 delivery of these files, attached as Exhibit B.

          C.      The Liberty Companies Have Complied With Their Obligations Under Rule
                  33 Of The Federal Rules Of Civil Procedure

          Of 38 Interrogatories to which the Liberty Companies responded, RSI takes issue with

 seven of them. Those seven will be discussed below:

          INTERROGATORY NO. 1:                     For each of the Liberty Companies’ Answers to

 these Interrogatories, state the name, address, telephone number, present employer, and job

 classification or position of each and every person who has provided information in response to

 each such Interrogatory.

         ANSWER:           The Liberty Companies’ legal department has assembled the information

 for these interrogatory responses from numerous sources within the Liberty Companies.

         DISCUSSION: The Liberty Companies’ responses to written discovery required the

 compilation and review of information from hundreds of documents and many computer



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 databases. These activities were initiated by various members of the Liberty Companies’ legal

 department. It is neither necessary nor appropriate for the Liberty Companies to identify its

 counsel and paralegals who compiled and reviewed information later produced in response to

 written discovery.

         Liberty Mutual employees outside of the legal department who provided information to

 the legal department for these interrogatories include Gary Suiidholm (Customer Service

 Manager, Tampa), Daniel Dunne (Senior Account Executive, Tampa), Avery Springer

 (Customer Service Coordinator, Tampa), Michael Pisari (Underwriting, Boston), Judith Labelle

 (National Market Service Management, Boston), and Thomas Thompson (National Claims

 Administrator, Dover).

         INTERROGATORY NO. 2:                    State whether the Liberty Companies, prior to

 answering these Interrogatories. made due and diligent search of each of the Liberty Companies’

 books, records, and papers, and due diligent inquiry of each of the Liberty Companies respective

 past and present agents and employees for the purpose of securing, obtaining and/or retrieving all

 information and documents responsive to these Interrogatories and Plaintiffs First set of Request

 for production of Documents on the Liberty Companies, Plaintiffs Second Request for

 Production of Documents to the Defendants, and Plaintiffs First Set of Requests for Admission

 to Defendants.

         ANSWER:           Subject to objections interposed within specific interrogatory responses,

 the Liberty Companies have searched available records which may contain information

 responsive to these Interrogatories.

         DZSCUSSION: The Liberty Companies’ response to this interrogatory is neither non-

 responsive nor evasive. If this interrogatory merely “asked for confirmation that the Liberty




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 Companies made a due and diligent investigation in responding to the interrogatories” as you

 suggest, then the Liberty Companies would have responded with an unqualified “yes.” Instead,

 this interrogatory asked the Liberty Companies to confirm that it performed a search well beyond

 what is required by the civil rules, such as searching every document in its databases and

 speaking with every current and former employee. A responding party is not required to search

 every document or to seek information outside of the organization from fanner employees. The

 Liberty Companies conducted a “reasonable search” which you acknowledge is all that is

 required.

         To the extent that Republic would prefer that the Liberty Companies review the contents

 of every document within its databases (whether related to the Republic Workers Compensation

 Program or not) or speak with every current and former employee of the Liberty Companies,

 such an effort would be wholly impractical and unreasonable, and is not required by Fed. Rule

 Civ. P. 33.

         INTERROGATORY NO. 20:                 For each affirmative defense, asserted by the

 Liberty Companies in response to Republic’s claims in this litigation statehdentify:

                 (a) The name, address, and telephone number of each and every witness whom
                 the Liberty Companies contend has knowledge or facts concerning the basis of
                 each affirmative defense;

                 (b) Each and every document or other tangible piece of evidence upon which the
                 Liberty Companies intend to rely in support of each and every affirmative
                 defense; and

                 (c) The factual basis of each and every defense upon which the Liberty
                 Companies intend to rely.

         ANSWER.         Objection. This interrogatory seeks information which is protected by the

 work-product doctrine. Specifically, this interrogatory seeks to discover the Liberty Companies’

 theory of the case and their litigation strategy. With regard to the identity of witnesses and



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 documents which may support the Liberty Companies’ defenses, discovery is just beginning as

 and the first depositions have not been taken. Further, the Liberty Companies refer to previously

 exchanged Fed. R. Civ. P. 26(a)(l) disclosures as well all documents exchanged to date. With

 regard to exhibits which the Liberty Companies may introduce at trial, this request will be

 supplemented in compliance with any pretrial order. Further, with regard to witnesses which the

 Liberty Companies may call at the trial of this case, this request will be supplemented in

 compliance with any pretrial order.

          DISCUSSION: This interrogatory seeks much more than the factual basis for the

 Liberty Companies affirmative defenses. Instead, this contention interrogatory seeks the Liberty

 Companies’ future litigation strategy, information protected by the work-product doctrine.

 Paragraphs (b) and (c) seek the disclosure of facts and information to which the Liberty

 Companies “intend to rely.” Not only have the Liberty Companies not yet developed their final

 trial strategy, but such information is protected from disclosure. Moreover, since this contention

 interrogatory merely tracks the assertions of the Liberty Companies’ Answer, it qualifies as a

 “serious form of discovery abuse, because such interrogatories can be used to impose great

 burdens on the opposing party, and almost always are counterproductive.” In re Convergent

 Techs. Sec. Litig., 108 F.R.D. 328,227 (N.D. Cal. 1985).

          With regard to paragraphs (a) and @) of this interrogatory, such information is included

 within the Liberty Companies Fed. R. Civ. P. 26(a)(l) disclosures as well as the thousands of

 documents produced to date. In fact, the thousands of pages contained in the hundreds of claim

 files at issue and the contracts previously produced constitute the bulk of the evidence on which

 Liberty’s defenses are based.




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          INTERROGATORY NO. 23:                   Identify by parties involved, general subject matter,

 and disposition, each and every claim and/or demand made on and after January 1, 1995, made

 upon any one or more of the Liberty Companies and in which claims have been asserted that any

 one or more of the Liberty Companies or any of their affiliates improperly and/or negligently

 handled, administered or managed a workers compensation claim and/or workers compensation

 claims program.

          ANSWER.            Objection. This interrogatory is overly broad and unduly burdensome as

 written as it would require the Liberty Companies to review and describe the contents of millions

 of documents. Further, answering this interrogatory as written would require the Liberty

 Companies to search and review every document within its databases for any reference during a

 ten year period for purported complaints of mishandling any workers compensation claim,

 whether related to the Republic Workers Compensation Program or not. Without waiving these

 objections, the spreadsheet provided in response to Interrogatory No. 21 above may include the

 requested information.

          DISCUSSION: This interrogatory is impossible to answer as written as it would require

 the Liberty Companies to review and describe the contents of millions of documents. Answering

 this interrogatory would require the Liberty Companies to itemize each and every complaint of

 any type relative to any workers compensation claim over a ten year period. Such would require

 an individual review of hundreds of thousands of claims files located around the country, most of

 which have no relation to the Republic Workers Compensation Program. The Liberty

 Companies have no database that would produce this information. Further, the "claim and/or

 demand" could range in subject matter from receiving a benefit check one day late to the attitude

 of a claims handler, issues wholly dissimilar to Republic's claims against the Liberty Companies.




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         Recognizing that Republic’s Complaint is based on the Liberty Companies’ purported

 breach of contract, the Liberty Companies compiled a list all claims alleging a breach of contract

 arising from a workers compensation policy or program and thereafter provided this information

 in response to Interrogatory No. 21. In the event that Republic seeks infomiation about similar

 claims, then the Liberty Companies’ response to Interrogatory No. 21 provides such information.

         INTERROGATORY NO. 35:                  If the Liberty Companies’ Response to any of the

 Requests for Admission set forth in the Plaintiffs First Set of Requests for Admission to

 Defendants is anything other than an unqualified and complete admission, state in detail the basis

 for each such denial.

         ANSWER            Objection. This interrogatory is asking The Liberty Companies to prove a

 negative. Without waiving this objection, please see the Liberty Companies’ responses to

 individual requests for admissions tendered by the Plaintiff

         DISCUSSION: This Interrogatory asks the Liberty Companies to prove a negative. In

 the event that any request for admission contained an inaccurate statement, the Liberty

 Companies denied the statement. The factual basis for all denials is the absence of accuracy.

 Moreover, several of the requests for admissions are inherently vague as written or unsuitably

 ask the Liberty Companies to admit “general acceptance.”

         INTERROGATORY NO. 37:                  (a) State the final annual premium charged by the

 Liberty Companies to Republic under the Republic Workers Compensation Program for each of

 the contract periods commencing on July 1, 1998, July 1, 1999, and July I, 2000; (b) state the

 factual basis therefore; and (c) describe the process, procedure, calculations and any documents

 relied upon in calculating each such premium.




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         ANSWER:           The Liberty Companies are in the process of compiling information

 responsive to this Interrogatory. Further, the Plaintiff should be in possession of this

 information. Nonetheless, this request will be supplemented in the near future.

         DISCUSSION: The “final annual premium” is a compilation of several figures which

 must take into account losses, adjustments, and reconciliations. The Liberty Companies are in

 the process of compiling these figures and request another 14 days in which to do so.

         INTERROGATORY NO. 38:                  If you denied Request No. 8 in the Plaintiffs First

 Set of Requests for Admission to Defendants, regarding whether the Liberty Companies

 calculated the bonus or penalty under the Partnership Agreement to the Republic Workers

 Compensation Program for each such period set forth in the partnership Agreement, then identify

 with specificity which, if any, periods the Liberty Companies made any such bonudpenalty

 calculations and state and describe the processes, procedures or protocols used or utilized by the

 Liberty Companies in making those bonusipenalty calculations.

         ANSWER:           The Liberty Companies made bonusipenalty calculations on January 14,

 2002 (later revised on January 17,2002 because a change in audited workers compensation

 payroll), January 13,2003 and January 30,2004. With regard to the processes employed to

 complete the calculations, such can be described as follows:

         a. The Liberty Companies generated a RISKTRAC report identifying paid losses at each

 of the three periods;

         b. The Liberty Companies multiplied paid loss by the appropriate contractually agreed

 upon paid to ultimate development factor in order to determine “projected ultimate paid losses;”




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          c. The Liberty companies divided “projected ultimate paid losses’’by audited payroll and

 then multiplied by $100 to determine the “projected ultimate paid loss rate.” This is a rate of loss

 per $100 ofpayroll;

          d. The Liberty Companies compared the “projected ultimate paid loss rate” to the

 contractually agreed upon guaranteed rate; and

          e. The Liberty Companies calculated the bonus /penalty by subtracting the “projected

 ultimate paid loss rate“ from the lower bound of the neutral range, dividing such figure by 100

 and multiplying it by 20% which was the contractually agreed upon bonus percentage.

          DISCUSSION: This interrogatory was fully answered by the Liberty Companies.

          D.        The Libertv Companies’ Responses To RSI’s First And Second Set of
                    Requests For Admissions Are Complete

          The Liberty Companies’ Responses to RSI’s First and Second Set of Requests for

 Admissions do not require supplementation. The Liberty Companies have either admitted,

 denied or stated that they do not have sufficient information to admit or deny each of RSI’s 17

 Requests for Admissions. Accordingly, the Liberty Companies’ responses comply with Rule 36.

          RSI contends that the Liberty Companies must specifically supplement their response to

 Request No. 2. RSI asks the Liberty Companies, in Request No. 2, to “[aldmit that as of

 November 25,2003, Republic incurred approximately $54.1 million in costs under the Republic

 Workers’ Compensation Program.” Contrary to RSI’s characterization of the Liberty

 Companies’ response, the Liberty Companies did not state that the requested information was

 available as of December 1,2003. Instead, the Liberty Companies asserted legitimate objections

 to RSI’s request including that the request is vague and ambiguous in that it does not define the

 term “costs.” Without waiving its objections, the Liberty Companies denied the request.




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          According to Rule 36, the Liberty Companies are simply required to admit, deny or state

 that they do not have sufficient information to admit or deny the request. The Liberty

 Companies complied with their duty pursuant to Rule 36 and therefore, this Court should deny

 RSI’s Motions to Compel

          E.       The Liberty Companies’ Response To Request For Admission No. 7 Is
                   Complete

          RSI’s Request for Admission No. 7 asks the Liberty Companies to:

                   [aldmit that all documents identified as Bates Stamp Nos. 001-0000001 [to] 024-
                   00071156 with regard to Open Claims files and Bates Stamp Nos. 001-0000001
                   to 039-009677 (sic) with regard to the Closed Claims files represent the original,
                   true. complete and accurate paperiphysical records prepared and/or maintained by
                   claims adjusters of the Liberty Companies for, or in connection with, the claims
                   handling, administration, management and adjusting of the Claims by the Liberty
                   Companies.

          In response, the Liberty Companies asserted the following:

                   Objection. This request is vague and ambiguous as written as it does not define
                   the phrases “complete”, “open claims files” and “closed claims files.” Further,
                   these phrases are not defined within the Definitions and Instructions section of the
                   Plaintiffs First Set of Requests for Admissions. Without waiving these
                   objections, the referenced documents represent files currently available to the
                   Liberty Companies which relate to both closed and pending claims brought by
                   injured workers of Republic Services, Inc. Further, the referenced files are not
                   necessarily complete because some of the files cannot be located or are not
                   accessible as previously discussed by and between Republic Services, Inc. and
                   Liberty Companies. Without waiving these objections, the complete paper files in
                   the possession of Liberty Mutual claims adjusters for the claims files requested by
                   Republic Services, Inc. have been made available, as has RISKTRAC and copies
                   of BOCOMP.

          In essence, RSI asked the Liberty Companies to admit that the approximately 170,000

 pages of open and closed claim files it produced represent every single page in the possession,

 custody or control of the Liberty Companies relating to the claim files at issue in this case. The

 Liberty Companies handled claims for RSI In 33 offices in 23 states. In this case alone, the

 Liberty Companies produced over 740 claims files. The Liberty Companies c m o t possibly



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 guarantee that they have located and produced every single page. They can, however, represent

 that they have produced every page of every file they have been able to find and that is exactly

 what they did in their response to Request for Admission No. 7.

          The Liberty Companies’ response to Request for Admission No. 7 complies wholly with

 the requirements of Rule 36. Accordingly, this Court should deny RSI’s Motion to compel. It

 appears, however, that RSl’s issue with the Liberty Companies’ response is the lack of the words

 “admit” or “deny” in the Liberty Companies’ response. Therefore, the Liberty Companies

 agrees to serve an amended response that states the following:

                  Objection. This request is vague and ambiguous as written as it does not define
                  the phrases “complete”, “open claims files” and “closed claims files.” Further,
                  these phrases are not defined within the Definitions and Instructions section of the
                  Plaintiffs First Set of Requests for Admissions. Without waiving these
                  objections, the Liberty Companies admit that the referenced documents represent
                  files currently available to the Liberty Companies which relate to both closed and
                  pending claims brought by injured workers of Republic Services, Inc. Further,
                  the referenced files are not necessarily complete because some of the files cannot
                  be located or are not accessible as previously discussed by and between Republic
                  Services, Inc. and Liberty Companies. Without waiving these objections, the
                  Liberty Companies admit that complete paper files in the possession of Liberty
                  Mutual claims adjusters for the claims files requested by Republic Services, Inc.
                  have been made available, as has RISKTRAC and copies of BOCOMP.

          F.      The Libertv Companies Are Providing An Updated And Complete Privilege
                  m
          While the Liberty Companies’ counsel was in Texas preparing their employees for their

 depositions, the Liberty Companies provided a privilege log with its production of over 58,000

 documents in December of 2005. Plaintiff has complained that the privilege log does not contain

 sufficient detail. The Liberty Companies will provide RSI a more detailed privilege log

 concurrent with this Response.

         G.       The Libertv Comoanies Have Agreed In Principle To An Amended
                  Scheduling Order
         The Liberty Companies agree with Plaintiff that due to the massive scope of this


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 litigation, the parties should propose an Amended Scheduling Order to the Court. In view of the

 length of time the depositions of Liberty Mutual employees have taken, counsel for the Liberty

 Companies propose to meet with counsel for RSI to discuss a proposed Scheduling Order, since

 that which was proposed by RSI in October is no longer workable. Counsel for the Liberty

 Companies are available to meet with RSI’s counsel to discuss a proposed Amended Scheduling

 Order. The undersigned will be in contact with RSI’s counsel regarding such a meeting,

 V.     CONCLUSION

        For all of the reasons stated above, the Liberty Companies respectfully submit that

 Plaintiffs Motions to Compel should be denied. If the Court chooses not to deny all of the

 motions, the Liberty Companies propose a telephonic or in-chambers conference with Magistrate

 Judge James Todd to discuss these discovery issues, a step dictated by the Court’s Order, but

 omitted by Plaintiff.

                                              Respectfully submitted,


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 This is to certify that a true and accurate
 copy of the foregoing was served by
 United States Mail, postage prepaid, to:

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 REPUBLIC SERVICES, INC.

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